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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ANNIE R. PAYNE,                                   §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §            CIVIL ACTION H-18-2353
                                                  §
MRS ASSOCIATES, INC.,                             §
                                                  §
       Defendant.                                 §

                           CONDITIONAL ORDER OF DISMISSAL

       Having been advised that a settlement has been reached between plaintiff and defendant, the

Court dismisses this case without prejudice to reinstatement of plaintiff’s claims if any party

represents to the Court within thirty days from the date of this order that the settlement could not be

completely documented. The court retains jurisdiction over any settlement agreements.



       Signed at Houston, Texas on May 31, 2019.




                                               ________________________________________
                                                             Gray H. Miller
                                                    Senior United States District Judge
